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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas

 Case number (if known):                                            Chapter       11                                                      ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Sweet Spot Rentals, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   8      3 – 4    5   4    0    7     0   2
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                    Mailing address, if different from principal place of
                                                                                                                  business




                                                   2809 Mason St
                                                   Number          Street                                         Number        Street

                                                   Houston, TX 77006-3131
                                                   City                                    State   ZIP Code       City                              State      ZIP Code

                                                                                                                  Location of principal assets, if different from principal
                                                   Harris                                                         place of business
                                                   County




                                                                                                                  Number        Street



                                                                                                                  City                              State      ZIP Code




    5. Debtor's website (URL)                     www.sweetspotrentals.com



    6. Type of debtor                             ❑ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑ Partnership (excluding LLP)
                                                  ✔ Other. Specify:
                                                  ❑                             Residential Property Management




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Debtor      Sweet Spot Rentals, LLC                                                                          Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.
                                                                                                           MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known



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Debtor        Sweet Spot Rentals, LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this     Check all that apply:
      district?
                                        ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        ❑
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                        ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have       ✔ No
                                        ❑
      possession of any real
      property or personal property
                                        ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?                                  ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?


                                                  ❑ It needs to be physically secured or protected from the weather.
                                                  ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                        options).
                                                  ❑ Other
                                                  Where is the property?
                                                                            Number        Street




                                                                            City                                         State    ZIP Code
                                                  Is the property insured?
                                                  ❑ No
                                                  ❑ Yes.        Insurance agency
                                                                Contact name
                                                                Phone


          Statistical and administrative information

         13. Debtor’s estimation of     Check one:
             available funds?           ❑ Funds will be available for distribution to unsecured creditors.
                                        ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                        ❑
                                           creditors.

         14. Estimated number of
                                         ✔ 1-49 ❑ 50-99
                                         ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                   ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets            ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                         ✔ $50,001-$100,000
                                         ❑                                     ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                         ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                         ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




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Debtor        Sweet Spot Rentals, LLC                                                                          Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ✔ $500,001-$1 million
                                            ❑                                         ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     03/25/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Stefan Hollands                                                                   Stefan Hollands
                                                   Signature of authorized representative of debtor                 Printed name


                                                   Title                         Owner



         18. Signature of attorney
                                               ✘                     /s/ Michael L. Hardwick                        Date      03/25/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY



                                                    Michael L. Hardwick
                                                   Printed name

                                                    Michael Hardwick Law, PLLC
                                                   Firm name

                                                    2200 North Loop West Ste 345
                                                   Number          Street


                                                    Houston                                                            TX              77018-1757
                                                   City                                                               State            ZIP Code



                                                    (832) 930-9090                                                      michael@michaelhardwicklaw.com
                                                   Contact phone                                                       Email address



                                                    24088745                                                            TX
                                                   Bar number                                                          State




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: Sweet Spot Rentals, LLC                                                        CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      03/25/2024            Signature                                 /s/ Stefan Hollands
                                                                         Stefan Hollands, Owner
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                      Armond Giovannotto
                      6000 N Bentsen Palm Dr
                      Mission, TX 78574-1346




                      Booking.com
                      c/o Radius Global Solutions LLC
                      7831 Glenroy Rd Ste 250
                      Minneapolis, MN 55439-3117



                      Brennan & Clark
                      721 E Madison St Ste 200
                      Villa Park, IL 60181-3082




                      CHTD Company
                      Po Box 3576
                      Springfield, IL 62708-3576




                      Click Capital Group LLC
                      7901 4th St N Ste 300
                      St Petersburg, FL 33702-4399




                      Click Capital Group LLC
                      c/o Regent & Associates
                      500 Lovett Blvd Ste 225
                      Houston, TX 77006-4094



                      Click Capital Group LLC
                      c/o Regent & Associates
                      40 Wall St Ste 2901
                      New York, NY 10005-1304



                      Gator Plumbing
                      41786 Fm 510
                      Los Fresnos, TX 78566-4846
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                      Green Note Capital Partners
                      SPC LLC
                      1019 Avenue P Ste 401
                      Brooklyn, NY 11223-2366



                      Green Note Capital Partners
                      SPC LLC
                      c/o Triton Recovery Group
                      19790 W Dixie Hwy Ste 301
                      Miami, FL 33180-2293


                      Hudson Creative Studio
                      2812 Hudson Pl
                      New Orleans, LA 70131-3858




                      J&D Pro-Waxing Cleaning
                      Services
                      11724 Pine Grv
                      Mercedes, TX 78570-9379



                      Smart Business
                      561 Ne 79th St
                      Miami, FL 33138-4593




                      T-Mobile
                      Po Box 742596
                      Cincinnati, OH 45274-2596
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